           Case 1:13-cr-00083-WMS-HBS Document 674 Filed 06/18/20 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,
                                                                          13-CR-83-WMS
                 v.

JOSE RIVERA,                                                       NOTICE OF APPEARANCE

                  Defendant.
________________________________________



To the Clerk of this Court and all parties of record:



          Please enter my appearance as additional counsel of record in this case for Defendant, Jose

Rivera.



                         DATED:         Buffalo, New York, June 18, 2020.


                                                        Respectfully submitted,


                                                        /s/ Timothy P. Murphy
                                                        Timothy P. Murphy
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TO:       James P. Kennedy, Jr.
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